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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                          Case No. C-07-5944 JST

                                   9                                                          FURTHER ORDER REGARDING
                                           This Order Relates To:                             RESPONSE TO ADMINISTRATIVE
                                  10                                                          MOTION
                                  11       ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13             Earlier today, the Court set a deadline for the Toshiba Defendants to file an opposition to

                                  14   the administrative motion by counsel for certain Direct Action Plaintiffs ("DAPs"), seeking

                                  15   permission to be heard at the hearing scheduled for November 23, 2015. ECF No. 4197.

                                  16             In any opposition that Toshiba files, it is ordered specifically to address the following

                                  17   portions of the Report and Recommendation dated August 24, 2015, ECF No. 4015:1

                                  18                    Indeed, due to the coordinated discovery, it is reasonable for the
                                                        parties in this case to allow another party to take the lead on a
                                  19                    certain aspect of discovery and if that party settles, to have a non-
                                                        settling party take over the lead on that discovery.
                                  20
                                                                                         ***
                                  21                    Parties should not be permitted to use settlement in a consolidated
                                                        discovery case to escape their discovery obligations with respect to
                                  22                    remaining parties.
                                  23   Id. at 4.
                                  24   ///

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                                  28    The Court adopted the Report and Recommendation without objection on September 11, 2015.
                                       ECF No. 4054.
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                                   1         IT IS SO ORDERED.

                                   2   Dated: November 19, 2015
                                                                            ______________________________________
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                                                                                          JON S. TIGAR
                                   4                                                United States District Judge

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Northern District of California
 United States District Court




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